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. AOYI (Rev. 11/11) Criminal Complaint.

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UNITED STATES DISTRICT COURT
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Central District of California

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' United States of America : ; a ar - oENTAAL DISTRICT OF valor Me |
v. |
ARTHUR JAN DAM, | _ Case No. =
| " Defendant(s) . | | oo a 2 oJ 0) 0 76 2

CRIMINAL COMPLAINT
L, the complainant in this case, state that the following is true to the best of my knowledge and belief:

From on or about April 20, 201 8, to.on or about May 29, 201 8, in the county of Los Angeles in the Central’

District of California, the defendant(s) violated:

Code Section _ pO Offense Description

18 U.S.C. § 1030(a)(5)A), (VB,
(i), OAMOO

Intentionally Damaging and
Attempting to Damage a Protected

 

 

 

 

Computer
This criminal complaint is based on these facts:
Please see attached affidavit. .
Continued on the attached sheet.
a
- ’ Complainant’s lignes re
wu? Fe | .
.. et ELLIOTT WEIDEMAN, Special Agent
co
-y = \ Printed name and title
Som to bétore nd di im in my presence.
a on oo MICHAEL R, WILNER
Dale: i pl 4030 __
wd bs

  

| : Judge’s signature

City and state sj Eda California _ Hon. Michael R. Wilner, U.S. Magistrate Judge

Printed name and title
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AFFIDAVIT -
I, Elliott Weideman, being duly sworn, declare and state as

follows:

I. INTRODUCTION
1. I ama Special Agent (“SA”) with the Federal Bureau of |

“tnvestigation (“FBI7),. and have been so employed since September
2017. I am currently assigned to the Los Angeles Field Office,
Computer Intrusion Squad, which is responsible for investigating
fraud and related activity in connection with computers,
including denial-of-service attacks, phishing attacks and
malicious software injections. Since becoming an FBI Special
Agent, I have received specialized and on-the-job training
(including hundreds of hours of training at the FBI Academy in
Quantico, Virginia) regarding a variety of criminal activities
involving malware, computer intrusions, extortion, and various
types of fraud and organized criminal activities. ‘During my
training, interactions with other Special Agents and law
enforcement officers, and on-the-job work with investigations, I
have. gained considerable knowledge and expertise in the |
“investigation of computer intrusions, malware analysis, and
associated cyber crimes. i am a Certified Fraud Examiner .and
prior to being a Special Agent, I worked for approximately five
years as a Private Investigator in Los Angeles, where I |
conducted civil and criminal investigations involving the

detection of fraud and identification of hidden assets.
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IL. PURPOSE - OF AFFIDAVIT

1. . This affidavit is made in support of a criminal
complaint against, and arrest warrant for, ARTHUR JAN DAM
(“DAM”) for a violation of 18 U.S.C. § 1030(a) (5) (A),

(c) (4) (B) (4), (ii), (c) (4) (A) (4) (1) (Intentionally Damaging and
Attempting to Damage a Protected Computer) .

2. -The facts set forth in this affidavit are based upon
my personal observations, my training and experience, and.
information obtained from various law enforcement personnel and
witnesses. This affidavit is intended to show merely that there
is. sufficient probable cause for the requested complaint and.
warrant and does not purport to set forth all of my knowledge of
or. investigation into this matter. Unless specifically
indicated otherwise, all conversations and. statements described
in this affidavit are related in substance and in part only.

| III. SUMMARY OF PROBABLE CAUSE |

3. The Los Angeles Field Office of the FBI has been
investigating four cyber attacks which targeted and: disrupted
the website of a political candidate for a congressional |
district in California (the “Victim”).. As a. result of the four
cyber attacks, the Victim’ s website was down for approximately
21 hours during the campaign. The Victim reported suffering
losses, including website downtime, a reduction in campaign
donations, and time spent by campaign staff and others
conducting critical. incident response. In June 2018, the Victim

lost the primary election for the congressional district.
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4. In the course of the investigation, and as described
below, the FBI found that the cyber attacks originated from
Amazon Web Services (“AWS”) and in particular, were tied to'a
Single AWS. account, which was controlled by DAM. . DAM. was found
to be connected to the cyber attacks through subscriber |
“information, IP addresses, geolocation history, and open -
sources, including through his employer and his wife, K.O., who
worked for one of the Victim’s opponents. As described in
further detail below, each of the four cyber attacks corresponds
with logins to the AWS account from. either DAM’s residence or —
from DAM’ s place of work, Furthermore, DAM was found to have ©
conducted extensive research on. both the Victim and various
cyber exploits, malicious toolkits, and cyber attacks, including
the same kind of cyber attack used against the Victim, a
distributed denial-of-service or “DDoS” attack. The attacks
caused the Victim to suffer loss in excess of $5,000, as
described below. Therefore, there is probable cause to believe
that DAM committed a violation of 18 U.S.C. § 1030(a) (5) (A),

(c) (4) (B) (4), (44), (c) (4) (A) (i) (I).
IV. STATEMENT OF PROBABLE CAUSE

A.. Description of Cyber Attacks against the Victim

5. In late 2017, the Victim publicly declared candidacy
for the U.S. House of Representatives in a California |
congressional district. | |

6. During the course of this investigation, the Victim

provided the following information to the FBI:
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a. As part of campaign efforts, in late 2017, the
Victim established a website to provide campaign information and |
_ receive, donations. “The website was hosted by the website-
hosting company SiteGround.

i by Between April 2018 and May 2018, the Victim's
website was targeted and disrupted by four DDos attacks. At the
time of each DDoS attack, the Victim’s website was forced
offline because of uncharacteristically high Internet traffic.
The DDoS attacks caused the Victim's website to crash and be
unavailable for approximately 21 hours cumulatively.

| Ce The Victim observed the four DDoS attacks
. beginning on or about the following dates and times (all Pacific
Daylight Time (PDE) )2: . |
&. April 20, 2018, at approximately 6:38 p.m.;
ii. April 21, 2018, at approximately 3:52 p.m.;
iii. April 28, 2018, at approximately 4:59 p.m.; and
iv. May 29, 2018, at approximately 8:00 p.m.
7, Based on my training and experience, and conversations
with computer scientists and law enforcement personnel, I know

the following about DDoS attacks:

 

1 In a previous affidavit, it was reported that the Victim
first observed three of the attacks at times slightly different
than those above, that is, April 20, 2018 at 6:31 p.m.; April
21, 2018 at 3:49 p.m.; and May 29, 2018 at 9:09 p.m. I.believe
the times reported previously were the Victim’s and the Victim’s
staff's best understanding of when the attacks were initiated, ,
according to their internal investigation, and not necessarily
when the Victim first observed the activity. The times reported
here correspond to when the Victim reported first observing the

activity.
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a. A DDoS attack is a cyber attack in which a
perpetrator seeks to make a computer, website, or network
resource unavailable to its intended user(s) by temporarily or
indefinitely disrupting services of a host or provider that: is
connected to the Internet. | |

b. DDos attacks are typically accomplished by
flooding the targeted computer with superfluous requests in an
attempt to overload systems and prevent some or all legitimate
requests “from being fulfilled.

8. In October 2018, the FBI ‘learned the following
information from the Victim’s campaign manager and from the
Victim's rp specialist: |

. al Following the second DDoS attack on or about
April 21, 2018, the Victim hired an IT Specialist to
troubleshoot the problem and prevent further attacks and
disruptions. Despite the efforts by the IT Specialist, the
website hosting company, the Victim’s campaign manager, and
other campaign staff, the Victim's website suffered additional
DDoS attacks on or about April 28, 2018 and May 29, 2018.

b. The BDos attack on or about April 28, 2018,
occurred just before the start of a live political debate, which
featured the Victim and his two opponents. This DDoS attack

shut down the Victim’s website and it remained offline

throughout the debate.

c. The final DDoS attack occurred on or about May
-29, 2018, approximately oné week prior to Primary Election Day

on June 5, 2018.
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d. On or. about June 5, 2018, the Victim lost the
“primary election by failing to gain enough votes to advance to
the general election.

9. In May 2019, the Victim provided information to the
FBI that as a result of the DDoS attacks, the Victim suffered
various harms, including a reduction in political donations and
campaign visibility, and between approximately $27,000 and
$30, 000 in expenditures and lost time to respond to,
investigate, and mitigate the attacks. The Victim also reported
what he/she believed were other consequential Harms suffered
from the attacks, including losing the election by fewer than
3,000 votes, and having to donate $21,000 to the campaign after
the election to cover shortfalls in fundraising targets in the
last weeks of the campaign.
| | B. Website Hosting Information and Attack Data

10. During the investigation, the Victim provided the
following information to the FBI regarding the campaign website:

‘a. The Victim’s website was hosted by the company
SiteGround. | Initially, the Victim maintained a website hosting
package with SiteGround that provided Limited website log files.
This lower-tier package was used in order: to minimize costs.
be Following each of the four DDoS attacks,

SiteGround emailed the Victim’s campaign and reported that. DDoS
“activity had been observed on the Victim’s website ‘and that it
had been temporarily shut down to avoid damage. In addition,
after the DDoS attacks, SiteGround investigated the website

traffic to the Victim’s website.
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“Ce In April 2019, the Victim provided the FBI with
internal campaign emails regarding the DDos attacks. These
emails included observations from campaign staff (the “Campaign
Emails”), emails from SiteGround (the “siteGround Emails”), as
. well. as several minimal log files provided by siteGround |
regarding malicious activity to the Victim’ s website. from three:
of-the DDoS attacks, on April 20, 2018, “April 21, 2018, and
April 28, 2018 (the “April. Log Files”).

11. During the investigation, SiteGround provided
information to the FBI regarding the Victim’s website and the
four DDos attacks (the “SiteGround Information”). |

12. ‘TI analyzed the Campaign Emails, the SiteGround Emails
and the SiteGround Information, and learned the following:

April 20, 2018 |

ae On or about April 20, 2018; SiteGround emailed.
the Victim and reported an abnormally high number of
Simultaneous connections to the Victim's website. SiteGround
stated that there were two possible explanations for the
abnormal activity: a malicious DDoS attack designed to bring
~ down the website, ot the “Slashdot effect.” |

‘b.° On or about April 20, 2018, a SiteGround Senior
Technical Support employee emailed the Victim's campaign and

referred to the incident as an attack. The SiteGround Technical

 

2 The Slashdot effect occurs when a popular website links to
‘a smaller website, causing a massive increase in traffic. The
large influx of web traffic overloads the smaller website and
causes it to slow down or even temporarily become unavailable.
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“Support employee stated that multiple IP addresses? were used “to
bring the website down by generating a Lot ‘of access towards
it.” SiteGround flagged five IP addresses as malicious.
Cc. on or about April 20, 2018, an employee from the
Victim’s campaign emailed another campaign employee and stated
that SiteGround had advised that the April 20, 2018 attack
occurred only to the Victim’s website, and not to other websites
.or applications on 5iteGround’ s server. Based on my training
and experience, I know that this information suggests that the
‘Victim’s website was targeted specifically and that the incident ~
‘was not the result of an unrelated problem with the server. |
April 21, 2018
d. On or about April 21, 2018, SiteGround ‘emailed
the Victim and again reported abnormally high traffic to the
Victim's website. SiteGround again provided two possible
explanations: a DDoS attack or the Slashdot effect.
e. “On or about April 21, 2018, another SiteGround
Senior Technical Support employee emailed the Victim's campaign
and advised that the influx of traffic appeared to be coming
from USAToday.com and that the incident, in fact, did not appear
-to be a deliberate attack, but organic growth as a result of the

Slashdot. effect. (As described below, later examination of the

 

3 An IP address, or Internet Protocol address, is the
globally unique address of a computer or other device connected
to a network, and is used to route Internet communications to.

and from the computer or other ‘device.

42 server typically hosts multiple websites and/or
applications.
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traffic does not support this interpretation.) Regardless of
“attribution, SiteGround flagged 11 IP addresses as malicious ..

April 28, 2018 |

f. on or about April 28, 2018, SiteGround emailed
‘the Victim to again report abnormally high traffic to the
Victim’s website and again provided the same possible
explanations: a DDoS attack or the Slashdot effect-

| g. -On or about April 28, 2018, SiteGround flagged 28

‘Ip addresses as nalicious.> | -

h. ‘In an email between campaign employees on April
28, 2018, at approximately 5:15 p-m.. PDT, one of the Victim's
campaign advisors stated, “dust got attacked again. Same thing
and our site is down. An hour before the biggest debate of the
primary.” Approximately three hours iater, the campaign advisor
sent another email to a campaign employee and said, ‘Use
Facebook and other social media to get your message out and to
get around your site being down, to spread your debate
performance.”

13. During the investigation, the FBI investigative team

analyzed the April Log Files from SiteGround. and found the

following information:

 

5 prior affidavits in support of search warrants in this
investigation reported’ that SiteGround flagged only 13 IP
addresses as malicious. In December 2019, after reviewing
records obtained from SiteGround itself, it was discovered that
while: SiteGround’s initial communication with the Victim .only
identified 13 IP addresses, SiteGround’s internal communications
reflected that it had identified an additional 15 IP addresses

das likely malicious.
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a. The April Log Files contained information from
visitors to the Victim’s website, including the source IP.
address, the User Agent String (the “UAS”)® and the referring
Uniform Resource Locator {the “referring URL”) .? |

‘O. Based on my training and knowledge, I know that
both the UAS and the referring URL are data points sent by the
client to a server; however, the server does not validate the
UAS or the referring URL. Based on.my training and experience, .
I know that: an individual can “spoof,” or falsify, the UAS or
.the referring URL, and that this type of activity is often used
in an attempt to mislead those responding to an incident.

| ‘c. A review of the April Log Files found that the
referring URLs to the Victim’ s website during the time of the .
“DDoS attacks included URLs from USA Today, Google, and ingadget,
all of which are legitimate information companies. However, a
closer inspection of the referring URLS found that they were
from webpages purportedly from the aforementioned companies, but
‘which did not in fact exist. This type of activity suggests

that the referring URLS in the April Log Files were spoofed.

 

6A User Agent String is a “string,” that is, a line of
text, that identifies the browser and operating system (and:
sometimes additional data) of a computer to a web server. For
example, such a string might look like the following:
\Mozilla/4.0 (compatible; MSIE 6.1; Windows XP)”. This would
indicate that the computer.was using Microsoft Internet Explorer
(MSIE) version 6.1 as. its browser, and was running Windows XP as
its operating ‘system (among other data).

_ 7 A Uniform Resource Locator is the address of a specific
webpage or file on the internet. The “referring URL” is the web
address from which a user was led or “linked” to the current

site or page.

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14. In April 2019, the Victim told the PBI that during the.
timeframe of the DDoS attacks (April 2018 and May 2018), the
Victim was not aware of any USA Today articles involving him/her
or the campaign (and thus, presumably, no. reason for the
referral URLs seen in the logs to in fact be from USA Today).
_The Victim was not aware of any viral or rapidly circulating
news articles, blogs, or reports that circulated information
about him/her. The Victim stated that despite running for
political office, there could have been no Slashdot effect to
generate the increased traffic. because there were no major news
articles that covered the Victim or his/her campaign.

15. During the course of the investigation, I searched for
USA Today and Engadget articles and other articles which could
have generated interest and high website traffic to the Victim's -
website. However, I did not find any USA Today or Engadget
articles on the Victim or any other such articles to support the
Slashdot effect theory.

‘16. During the investigation, the Victim's IT Specialist
provided the following information to the FBI:

a. Following the third DDoS attack on or about April

28, 2018, the Victim increased cybersecurity measures in order
to mitigate DDoS activity, including upgrading the SiteGround
account and retaining a ‘Separate website security company which
specializes in DDos mitigation. However, on or about May 29,
2018, the Victim’ s website was disrupted by a fourth DDos
attack. “Following this fourth attack, the Victim's IT |

' Specialist obtained a website traffic log file from SiteGround

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(the “May Log File”). In October 2018, the Victim’s IT
“Specialist provided. the May Log File to the FBI. |
17. I reviewed the May Log File and “found that it

reflected website traffic to the Victim's website on or about.
May 29, 2018. Based on this information, tT found that 17 IP
addresses” each accessed or attempted to access the Victim’ Ss
website more than 10,000 times over an approximate two- -hour
- period.
. 18. Therefore, according to the April Log Files, the May
‘Log File, and the. SiteGround Emails, I found that’a total of 46
unique IP addresses (the “46 IP addresses”)..accessed or
attempted to access the Victim's website in a manner consistent
with DDoS activity between April 2018 and May 2018. As noted
above, 15 additional | IP addresses were apparently identified by
SiteGround in its internal review of the traffic toward the
Victim’s site. However, as those 15 addresses were not included
in the correspondence with the victim, they were not part of my
initial investigation.

| _C. AWS Account Information

19. =. conducted Whois® searches on each of the 46 IP

addresses, plus the 15 additional IP addresses later identified
from SiteGround’ s records. From these searches, I learned that

all 61 of these IP addresses were owned by Amazon Web Services

 

8 Whois is a query-and-response protocol that is publicly
available and widely used for querying databases that store the
registered users or assignees of an Internet resource, such as a.
domain name or TP address block. Whois query responses provide
the contact information for the individual responsible for
registering the domain name or the Internet Service Provider
(“ISP”) which owns the IP block. ,

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(AWS). AWS. is a company that provides on- demand cloud computing
platforms to individuals and companies, on a pay-as-you- go
basis. AWS allows a subscriber to create multiple virtual
environments at one time. / a |
. 20, Between November 2018 and April 2019, AWS provided the

following information ‘to the FBI about the originally identified’
46 IP addresses: |

a. ALL 46 IP addresses were assigned to the same AWS
account during the time each was used to conduct an attack:
Amazon Account Number 619452895481 (the “AWS Account”) .

b. The AWS Account was subscribed with the email
address preatorian_@hotmail.com to the name “Mike D,” at the

fictitious address “1234, Brooklyn, Ny 11211.7-

C. Billing information for ‘the AWS Account, however,
‘identified the name “Arthur Dam” (DAM), a telephone number
-ending in -4881, and a billing address on 4th Street in
Brooklyn, New York.? | |

i. I know, based on my training and experience, -
that it. is not uncommon for persons wishing to disguise their
identity on the Internet to use false or fictitious information
when setting up online accounts, and many providers of such |
“accounts do not have any mechanism to ‘verify the. identities of
their users. However, where those accounts are not free

services, individuals often are obliged to. provide information

 

9 The complete phone number and address were in the records;
only limited information is included here for privacy purposes.

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about their true: identities and/or locations in order to pay for
the services. | |
_d. AWS maintained limited logs on the activity of
the AWS Account, but these logs did-.include information .
regarding the computer which accessed the account, in addition
to dates, times, and IP addresses of user logins and API calls.1° .
| e. Although AWS did not retain detailed activity
logs of the AWS account, their records did reflect that the
account was active in’ April 2018 and May 2018. During this. time |
period, the AWS Account’ was’ used and. was billed for several AWS
‘services, including the following: AWS Data Transfer, Amazon
Elastic Compute Cloud (EC2),. Amazon EC2 Container Registry (ECR)
and Amazon Simple Storage service (S3). . :
1. I know, based on my training. and experience
and publicly available information about AWS’s services, that
the services described above, used by the AWS Account in April
2018 and May 2018, provide the infrastructure and capabilities

for'a user to rapidly create multiple VPS instances!! and make

 

10 An API call, also known as an Application Programming
Interface call, is a software intermediary that allows two
computer applications to communicate, one to send a request and
the other to receive and interpret the request. Developers use
API calls to request another computer or program perform a task.

41 A VPS, or virtual private server, can be thought of as a
digital container that has all of the general processing
capabilities of a physical computer, but which is not confined
to a particular piece of physical hardware. VPSs can even be
‘moved or stored in different physical locations, and multiple
VPSs can be stored on a single piece of physical hardware. An.
“instance” is the term used to describe this digital container,
to distinguish it from an actual, physical device. Thus, having
multiple VPS instances would be equivalent to having multiple
physical servers, without having to acquire the hardware _

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various APT calls. These services effectively create a self-
contained platform from which the user can conduct DDoS activity
(among other things, including of course legitimate uses). All
files or code repositories: can ‘be stored in the Amazon $3 cloud
storage, and can be accessed by API calls from the Amazon Data
‘Transfer service. The code. can then be run from a virtual
machine operating as Amazon’ EC2. The number of virtual machines
can scale significantly according to the code requested in the
API call. 7
21. In March 2019, the FBI received information from AWS

that the AWS Account was suspended on or about September 20,
2018. %In-March 2019, I conducted open-source research and found
a news article dated September 20, 2018, in which the Victim
publicly reported the DDoS attacks to an online news agency. I
also found several other news articles published on or about the
~” same date that referenced the Victim and the original article.

I conducted follow-up investigation with AWS regarding the |
details of the suspension of the AWS Account. AWS advised that
it did not suspend or close the AWS Account, and clarified that
customers can suspend or close their own accounts at any time.
‘According to AWS, there is no distinction between a suspended
account and a closed account. ‘Therefore, this data indicates

that the AWS Account used to conduct the DDoS attacks was self-

suspended/closed on or about September 20, 2018,

 

oneself, and instead by paying for capacity on someone else’s
hardware (such as AWS). The VPS user maintains the ability to
direct what the instance is used to do and who has access to it

(hence, “private”).

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contemporaneously with the publication of news reports. on the
DDoS attacks. |
22. Records from AWS further reflect following

information: |

a. On or about April 20, 2018 at approximately 6:31
p.m., that is, a few minutes before the Victim observed the
first DDoS attack, the Five IP addresses which SiteGround:
flagged as malicious were assigned to the AWS Account.

b. On or about April 21, 2018, at approximately 3:46
Dp. m., that is, a few minutes before the Victim observed the
second DDoS attack, the 11 IP addresses which SiteGround flagged
as malicious were assigned to the AWS Account.

c. On or about April 28, 2018, at approximately 5:46
p.m., the 13 IP addresses which SiteGround first flagged as
“malicious were assigned to the AWS Account . This is consistent
‘with logs provided by SiteGround regarding malicious activity on -
the Victim! s site from these 13 IP addresses, which show
activity at exactly 5:46 p.m. PDT. While records were requested
from AWS regarding the additional 15 IP addresses identified by
SiteGround in its own records relating to the attacks on this.
‘date, AWS has indicated that it does not have, or has no longer
retained, records identifying a particular AWS account those IP.
addresses were used by during the relevant timeframe.

di. Notably, the Victim recalled that the DDos

activity on April 28, 2018, began at approximately 4:59 p-m.;
which is earlier than AWS records reflect the previously

identified 13 TP addresses being assigned to DAM’s account.

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However, the internal SiteGround communications included logs
showing malicious activity with the 15 previously unknown IP
addresses beginning at least as early as 4:56 p.m. PDT, which is
: consistent with what the Victim reported. The combination of
the logs from SiteGround, the AWS records, and the Victim’s
observations suggest that there may have been at least two
technically separate attacks on the Victim’s site within’
approximately an hour, but in all likelihood, the Victim simply
experienced this as one ongoing attack. | |

d. On or about May 29, 2018, at approximately 7:53
p.m., that is, a few minutes before the Victim noticed the DDoS
attack, the 17 IP addresses which SiteGround flagged as |
malicious. were assigned to the AWS Account.

D. Investigation of the AWS Account Email and Phone. .
‘Number

23. In January 2019, Microsoft provided information to the
FBI that preatorian_ @hotmail. com — the email address used in “the
‘AWS Account subscription ‘records _ was created using the

subscriber name “Arthur Slam” in 2002.

24. . In January 2019, Verizon provided information to the
FBI that the phone number ending in -4881 listed in the AWS
Account information was subscribed to a business, hereafter

referred to as “Company AL”

25. In April 2019, the. California Employment Development °
Department provided information to the FBI that DAM has received

wages from Company A since at least 2017.

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E. open-source Research Regarding DAM and K.O.
26. In December 2018 and. January 2019, I conducted open-
source. research and discovered the following information: |

a. Open-source public records databases reported an
individual named Arthur DAM with a current address at a
residence in Santa Monica, California (the “Santa Monica
Residence”). -The public records databases reported DAM’ s
historical addresses. in New York, including the same 4th Street,
Brooklyn, New York address that was the billing address for the
AWS Account. . .

b. Company A is a digital advertising company with
offices located internationally and across the United States,
including in New ‘York, New York and venice, California.

c. Numerous online business and marketing profiles
reported that DAM worked for Company A.

d. . DAM was found to have a personal website,
www. arthurdam. com. The website is not active currently;
however, a publicly viewable archive from. March 2016 revealed
that the website displayed DAM’ s work affiliation with Company
A. The archive also reported that DAM was fluent in various
computer programming languages, including JavaScript,
Typescript, Python, and. C++.

e. A wedding website was found providing information
on the wedding reception for DAM and K.O. According to the
website, ‘DAM worked for Company A, while K.O. studied political
science in college.and was previously involved in local politics

in her hometown.

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f. Public records revealed that DAM and K.0. lived
at the Santa Monica Residence.

g. K.O. was found to maintain active social media
profiles. K.O. publicly disclosed her employment with the
Victim’ s opponent, who was the eventual election winner.”
According to K.0O.’s social media posts, K.O. was a consultant
for the Victim’s opponent and active member of the opponent's
campaign. | |

F. Further Analysis of AWS Logs

27. Detailed analysis of the AWS logs and associated
records for the AWS Account showed information on login
timestamps, connecting source IP addresses, and limited account
activity, as noted below: . |

a. Between April 2018 and May 2018, the AWS Account
was logged into a total of eight times, at the following
approximate dates/times (all in PDT):

i. April 1, 2018,, at 4:36 p.m.;
di. April 2, 2018, at 11:26 a.m.;
iid. April 20, 2018, at 6:11 p.m.;
ive April 21, 2018, at 3:44 p.m.;
v. April 22, 2018, at 10:05 a.m.;
vi. April 24, 2018, at 3:38 p.m;
vii. April 28, 2018, at 4:16 p.m.; and
viii. May 29, 2018, at 7:43 p.m. |
b. For each of the eight logins listed above ,.

‘connections to the AWS Account were made from one of two IP

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‘addresses: 96.251.72.217% (“Subject IP Address 1”) and
47.151.141.158 (“Subject IP Address 2,” and together with
Subject IP Address 1, the “Subject’ IP Addresses”). That is to
say, only these two. IP addresses were used to connect to the AWS
- Account and direct activities therefrom during the time period
in which the DDoS attacks were launched from the 46 IP addresses
known to be controlled by the AWS Account. |

i. I obtained records from Frontier
Communications, the Internet Service Provider (ISP) that hosts
both of the. Subject IP Addresses. Those records showed that
subject TP Address 1.was subscribed to Company A in Venice,
California. Subject IP Address 2 was subscribed to kK. O. at the
Santa Monica Residence.

. Cc. In specific relation to the four DDos attacks,
“the AWS logs showed logins to the AWS Account on or about the
following relevant times (all in PDT):

.ai. © April 20, 2018, at 6:11 p.m. from Subject IP

Address 1;
ii. April 21, 2018, at 3:44 p.m. from Subject IP
Address 2;°
iii. April 28, 2018, at 4:16 p.m. from Subject IP
Address 1; and - . - |
- ive “May 29, 2018, at 7:43 p.m. from Subject IP

Address 1.

 

.12 Previous affidavits related to. this matter contained a
typographical error in the IP address, inadvertently listing the
first number as 95 rather than 96. The correct records, were
requested and received from the ISP.

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d. To summarize information from the AWS. Logs and
related research: _
“a. On or about April 20, 2018, at 6:11 pm. the
AWS Account was accessed from Subject IP Address 1, which is
subscribed to DAM" s employer, Company A. The first DDoS attack
initiated approximately 20 minutes later from IP addresses that
were assigned to the AWS Account just before the attack, at
approximately 6:31 p.m.

ji. On or about April 21, 2018, at 3:44 p.em.,
the AWS Account was accessed from Subject IP Address 2, which is
subscribed to K.O. at the Santa Monica Residence. Two minutes
-later, Five IP addresses were assigned to the AWS account, and
- approximately six minutes after that, at approximately 3:52 |

p.m., the Victim observed the second DDoS attack from those IP

“Addresses.

iii. On or about April 28, 2018, at 4:16 p.m.,
the AWS Account was accessed from Subject IP Address 1, .Company
A. At approximately 4:59 p.m., the victim observed the effects
of the third DDos attack, and SiteGround’ s records ‘reflect
malicious activity from IP addresses owned by AWS at least as
early : as 4:56 p.m. At approximately 3: 46 p.m., 13 IP addresses
were assigned to the AWS account. At approximately the same
time, 5:46 p.m., those 13 IP addresses were used to send
malicious traffic to the Victim's website.

ivi On or about May 29, 2018, at 7:43 p.m., the
AWS Account was accessed from Subject IP Address 1, Company A.

Ten minutes later, at approximately 7:53 p.m., 17 IP addresses

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were assigned to the AWS Account. SiteGround records reflect
malicious traffic from several of these IP addresses beginning
as early as 7:56 p.m., and the Victim observed: the effects of
the attack just several minutes later, at approximately 8: 00
p.m, with later-downloaded logs reflecting traffic. from all 17
of these IP addresses. |

G. Information from Other Service Providers

28. In March 2019, Apple Inc. (*Apple” ) provided
information to the FBI that DAM maintained an Apple account,
subscribed in his name and with his address listed as the Santa
Monica Residence, and listing two email addresses:
reatorian @hotmail.com (i, e. , the email address subscribed to

Pp

the AWS Account and created under the name “arthur Slam” with
Microsoft) and arthurjdam@gmail.com.
29. In March 2019, Google LLC (“Google”) provided to the

FBI the following information regarding the second ‘email,

arthur dam@gmail.com:

a. Preatorian @hotmail.com, was the recovery email
for the account. - I know, based on my training and experience,
that providers like Google will often ask users to provide a
“wrecovery” or “secondary” email in order to make it easier: for. a
“user to regain access to their account Lf. ‘they forget their
password or are locked out. Thus, both the primary and the

recovery email are . by nature usually controlled. by the same

person.

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b. The arthurjdam@gmail.com account was subscribed
in the name “Arthur Dam” and with the same telephone number
ending in ~4881 as the AWS Account.

30. ‘In March 2019, Microsoft provided additional
information to the FBI regarding the preatorian @hotmail.com
email address, including email headers of messages sent to and
from the email address preatorian_ @hotmail.com. Based on these
email headers, I found that on or about Saturday, April 28, |
2018, the day of one of the DDoS attacks, several emails were
‘sent from preatorian @hotmail.com to a Craigslist email address
ending in -42abe@reply -Craigslist.org. Craigslist isa
classified advertisement website which allows users, among other
things, to list items for sale and to exchange communications
with other users: who may wish to purchase those items. For
privacy. purposes, Craigslist anonymizes the email addresses of
all individuals who post or.reply to advertisements. When a
Craigslist subscriber creates a post, a unigue posting ID is
assigned by Craigslist, and all emails to or from the poster use
a Craigslist email address which incorporates the posting ID. /
For example, Lf the Craigslist posting ID was 123456, then
Craigslist will automatically mask the poster’s true email
-address with an email address ending in
123456@sale.craigslist.org. Similarly, if a user responds to an
advertisement, Craigslist will assign an anonymized address ‘like
that ending in -42abe@reply. Craigslist .org to which the

| preatorian_G@hotmail.com address sent messages.

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31. In April 2019, Craigslist provided information to the
FBI regarding the Craigslist account associated with the
preatorian_ @hotmail.com email address (the “Craigslist
account”) . This Craigslist Account was subscribed to the user
“Arthur” with no last name provided. Based on.the information
provided by Craigslist, I found that on or about April 26, 2018,
the Craigslist Account created Craigslist posting ID 6572766908,
which was an advertisement to sell a small drone. The posting
listed “Arthur” as the contact name and was created from Subject
IP Address 1, i.e., Company A.

32. In April 2019, Microsoft provided additional
information to the FBI regarding the preatorian_@hotmail.com
email address, including contents of communications within the
account. ‘Included in this information were copies of the
communications with the anonymized Craigslist email address
ending in -42abe@reply.Craigslist.org which were sent on or
about Saturday, April 28, 2018 — i.e, the date of one of the
DDoS attacks. From these emails, I discovered that the
individual communicating via the email address ‘ending
in -42abekreply.Craigslist.org (the “Craigslist Buyer”),
expressed: interest in buying the small drone. The email
correspondence from April 28, 2018 between
preatorian_ @hotmail.com and the Craigslist Buyer appears below:

April 28, 2018, 10:20 a.m. PDT, Craigslist Buyer:
Hello I am interested in -your Mavic Pro. Still
available? has it ever been crashed?

April 28, 2018, 11:22 a.m. PDT, preatorian_ @hotmail.com:
Hi [Craigslist Buyer], Yep, “it’s still available. No
crashes at all and the drone is in great condition

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April 28, 2018, 11:32 a.m. PDT, Craigslist: Buyer:
Great! Are you available.today to come check it out?

April 28, 2018, 1:55 p.m. PDT, preatorian .@hotmail.com:
If you’re cool on the asking price your’re definitely
welcome to have a look. The drone is at my office in
Venice, want to swing by there later today? What time
would work?

“April 28, 2018, 2:12 p.m. PDT, Craigslist Buyer:

T am cool with the asking price. I. can head out as soon
as possible. What time works for you?

April 28, 2018, 2:17 p.m. PDT, preatorian @hotmail.com:.
If it helps; my wife is actually heading to Santa
Clarita later today. She has no idea how the thing works
or anything, so it might be a bit difficult of a sell.
Otherwise, I can be in Venice anywhere after 3:15pm. The
address is [Company A’s street address], give me a ring
on [redacted]-4881 once you’re (the doorbell doesn’t

really work) .
. April 28, 2018, 2:19 p.m. PDT, Craigslist Buyer:.
Thank you for .the kind gesture, but was hoping to having

in the venice area anyway so IT don't mind heading to
Venice. I'll give you a ring once I am close. Thanks’

. again ©

April 28, 2018, 2:24 p.m. PDT, preatorian @hotmail.com:-
Sounds good, see you then!

33. Thus, based on this correspondence between

preatorian @hotmail.com and the Craigslist Buyer, I learned the

following:

a. The user of preatorian @hotmail.com used the
telephone number ending in -4881, i.e. the telephone ‘number

subscribed to the AWS Account...

b. The user of preatorian @hotmail.com worked at the.

street address for Company A in Venice, California, which is

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‘also the location of Subject IP Address 1, which accessed the
AWS Account. |

ie. The user of preatorian @hotmail.com requested the
Craigslist Buyer come to the user’s work office at Company A on —
the afternoon of April 28, 2018, in order to see and buy. the

- small drone.

-#H. Meeting at Company A Prior to the April 28, 2018
Attack —

34. In June 2019, the Craigslist Buyer provided the

following information to the FBI: |

| a. In April 2018, the Craigslist Buyer was browsing
postings for small drones on Craigslist. on or about: the
morning of Saturday, April 28, 2018, the Craigslist Buyer found
the public posting from the Craigslist Account. The Craigslist
Buyer initially replied to the advertisement by using the
Craigslist email button on the website. The Craigslist -Buyer -
emailed the poster several times. The poster’s email address
was cpms7-6572766908@sale.craigslist.org. (As described above,
Craigslist anonymizes the email addresses of individuals who
post advertisements and incorporates the posting ID into the
anonymized email address.) In their email correspondence, the
Craigslist Buyer inquired whether the drone was still for sale
and its condition. The poster advised the Craigslist Buyer that
the drone was at the poster’s office in Venice, California and
- that the Craigslist Buyer could come after 3:15 p.m. on April
28, 2018, to see the drone in person. The poster advised that

Company A’s street address in Venice, California was the

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‘ poster’s office and. where the drone was located. The poster
also provided the telephone number ending in -4881, and |
requested that the Craigslist Buyer call upon arrival at the
office. | .

b. .. On or about the afternoon of April 28, 2018, the -
Craigslist Buyer arrived at the office building located at the
street address. for Company A in Venice, California. Upon
arrival, the Craigslist Buyer called the provided number ending
in -4881. The Craigslist Buyer thought that the office was
closed because no employees or visitors were present. A tall?
white male emerged from the office and escorted the Craigslist
Buyer inside, where the drone was sitting. The Craigslist Buyer
understood the office to be ‘the male’s place of work. The
Craigslist Buyer advised that the male ‘appeared to be the only
person inside the office. The Craigslist Buyer inspected the »
drone and agreed to buy it for #660. The Craigslist Buyer paid
the male in cash and departed. The Craigslist Buyer did not
recall the male’s name. .

c. As described above, the AWS Account was accessed
from Company A in, Venice, California on or about April 28, 2018
at approximately 4:16 p.m. PDT. “Shortly thereafter, a DDoS
attack was initiated against the Victim via the AWS Account.

d. In May 2019, the: FBI received information Erom JP
Morgan Chase Bank regarding accounts maintained by DAM.

- According to this information, I found that on or about April

30, 2018, a $660.00 cash deposit was made into DAM’s checking

 

13 DAM is approximately six feet, seven inches tall.

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account. A review of this. account and DAM’s other known
accounts revealed that DAM seldom makes cash deposits.
“Therefore, I believe this cash deposit was the money received |

from selling the drone to the Craigslist Buyer on or about April

t.

28, 2018.
I. Further Information from Google
35. In June and July 2019, Google provided additional.

information about DAM’ s’ two Google accounts,
arthurjdam@gmail.com.and arthur@ [Company A].com.14 The first of
these is one of the two email accounts tied to DAM’s Apple
account, subsexibed’ in DAM’s name. The second is an enterprise
email account for Company A provided by Google. This account is
also subscribed to DAM and his known identifiers, including the
telephone number ending in ~4881 (the same telephone number
subscribed to the AWS Account) . Google provided contents of .
communications for these accounts, — as well as location
information, and searching and browsing history. Based on my
training and experience, I know that Google location history is
a Google Account-level setting that tracks a subscriber's
physical location and account activity, based on a variety of
inputs, including cellular data, GPS information, IP address,
past activity and other information. The service is enabled by
“default on every mobile device ofa subscribet who is signed
into -his/her Google account. — For example, a subscriber’s

location can be tracked when a search is conducted, an app is

 

14 The actual company name for Company A is part of the
email address, but is anonymized in this affidavit.

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accessed, or when another Google service or product is used.
“The searching and browsing history reflects searches conducted
using Google’s search engine by the user of a Google account ,
and web pages browsed to using the Google's Chrome browser,
while the user is logged into their Google account.

1. Relevant Email Contents

36. Within the email contents for the account
arthurjdam@gmail.com was a message sent on or about April 28,
2018, at approximately 10:28. p.m. to an email address belonging
to the Victim's opponent's campaign (and K.0O.’s employer). The
subject. of the email was “Guestlist” and the email body
contained | a chart: of donors, contribution amount, and RSVP date.
That is to say, the user of this email account emailed the
campaign of the Victim’s opponent what appeared to be campaign»
information, just several hours after the start of. the third
DDoS attack on the Victim's site and after the conclusion of the
telévised political debate.

2. Relevant Location History

37. The Google location data history for the. account |
arthur@ [Company A].com revealed the following information:

a. Shortly before three of the four DDoS attacks,
the user of the account was physically located at Company A, in
Venice, California at the approximate times the AWS, Account was
accessed from Subject IP Address 1 , which is subscribed to
Company A in Venice, California. specifically, the location 7

data shows that the user of the arthur@ [Company A] .com account

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(presumably DAM) was at Company A on or about the following .
relevant dates/times (PDT):

i. April 20, 2018, at 6:55 p.m.;

ii. April 28, 2018, at 3:54 p.m.; and

iii. May 29, 2018, at ‘5:52 p.m.

b. The location data history further showed that the
user of this account was at the Santa Monica Residence at the’
approximate time the AWS Account was accessed from that same _
location prioz to the remaining DDoS attack. Specifically, the
user was at the Santa Monica Residence on or about April 21,
2018 at 3:32 p.m. PDT. Therefore, I believe this information
shows that DAM was in the same location from which the AWS
Account was accessed, at the same approximate time of the logins
to the AWS ‘Account, just prior to the initiation of each of the
four DDoS attacks against the Victim.

c. In addition, the location history data showed
that the: user of this account was in the vicinity of the Santa
. Monica Residence. on or about April 22, 2018, at approximately
10:31 a.m. As noted previously, according to login information
from AWS, on or about April 22, 2018, at approximately 10:05
a.m., the AWS Account was accessed from Subject IP Address.2, or
the Santa Monica Residence. That is to say, the location
history of DAM’s arthur@ [Company A].com Google account showed
“that the user was at.the same general location where the AWS

Account was accesséd at nearly the same time it was accessed.

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3. Relevant Search and Browsing History -

38. The search and browsing history records from Google
showed that between March 2018 and June 2018, the user of both
the arthur@ [Company A].com and arthurjdam@gmail. com! accounts
(believed to be DAM) visited thé ‘Victim’ s website — the same
website that was targeted and attacked by the four DDoS attacks
in April 2018 and May 2018 - and conducted extensive research on
the-Victim, on the structure and programs running on, the
Victim’s website, and on how to conduct various types of DDoS
attacks and other cyber attacks.

| 39. As specific examples, this data showed that on of
about March 31, 2018, April 16, 2018, and June 5, 2018, the user
of the account arthurjdam@gmail.com conducted several Google
searches for the Victim's name and his employer's name, visited -
websites relating to the Victim and the Victim’s employer, and
visited the Victim’s Twitter profile. Interspersed between some
of these searches and website visits, the user conducted a
variety of searches on terms relating to DDoS mechanisms.

40. Further, the data showed that the user of the
arthurjdamégmail.com account visited the Victim’s campaign
website on.or about the following dates/times (PDT):

a. March 31, 2018, at 2:52 p.m.,
be April 16, 2018, at 7:29 p.m., and

-c. June 5, 2018, at 7:00 p.m.

 

15 In, prior affidavits, the search and browsing history
information reported in this section was inadvertently

attributed only to. arthur@ [Company A].com.-. The information is
correctly associated with both of DAM’s Google accounts, as

written above.

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41. In addition, the data showed that the user of the
arthur@ [Company A].com account visited the Victim’s campaign
website on or ‘about June 5,. 2018 at approximately 1i:21 a.m.

42. On or about March 31, 2018, shortly after visiting the
Victim’ s campaign’ website, the user searched for “slow loris
nodejs.” Based on’ my training and experience, I know that a
“Slow Loris” (or “Slowloris”) attack is a kind of DDos attack,
designed to take down a web server computer through the use of
only minimal bandwidth by- sending requests that seem slower than
normal but otherwise mimic regular traffic. 1 The tool generally
works by making partial connection requests to the targeted web -
server. - The targeted server’s maximum concurrent connection
pool is then filled with partial requests and connections, which
then deny additional incoming connection requests: from
legitimate visitors. The reference to “nodejs” in -the search |
refers to “node. js,” which is an open-source server environment
‘that executes JavaScript .code outside of a browser. This would
be the environment in which the attacker would attempt to run -
the Slow Loris attack. |

43. on or about March 31, 2018, after conducting
additional searches about the Slow Loris attack and about the -
Victim, and then visiting the Victim's opponent’s campaign
-website, the user conducted several searches for physical
equipment with the capabilities to conduct DDos activity.

Specifically, the user of the arthurjdam@gmail.com account —

 

16 Apparently named after a small primate from Southeast
Asia, the slow loris, which is known for moving slowly and
making little or no noise, but which has a toxic bite.

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Case 2:20-cr-00127-JAK Document 1 Filed 02/19/20 Page 34 of 43 Page ID #:34 |

‘searched for “juniper ex3300” and SEX3300-247 £X3300-24DC" and
‘then visited Juniper Networks’ website regarding the Juniper
EX3300 Ethernet switch. ‘This device is designed to scale
rapidly expanding networks and is marketed to school campuses
and data centers, where demand for: computer power might quickly
increase. The equipment allows a single user to quickly amplify
computer environments. Based on my training and experience, i
know that this type of Ethernet switch can be used to effect
DDoS activity, as a single user can quickly generate multiple
computer environments and direct activities therefrom.

Aa, On or about April 16, 2018, the user of the
arthurjdam@gmail.com account also searched for and visited the
website of a search engine known as “Shodan” at www.Shodan.io.
Shodan is an open-source research tool that, among other things,
provides information on the types. of programs and content |
Management systems used by a website or IP'address. Based on my
training and experience, I know that Shodan is typically used by.
both cybersecurity researchers and cyber criminals to identify
vulnerabilities of a computer, website, or network - the former
users to heighten security measures and the latter usérs for
exploitation. After searching for and visiting Shodan’ s
website, the user of arthurjdamégmail.com conducted Google
' searches for specific vulnerabilities relating to the
configuration of the Victim’ s website. For example:

a. On or about April 16, 2018, the user searched for
_“shareaholic exploit.” I know, based on my training and

experience, that an “exploit” refers to a software tool designed

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>

to take advantage ofa flaw in a computer system, typically for
malicious purposes such as installing malware or identifying a
vulnerable point of attack. According to open-source research,
the Victim’s website features “Shareaholic” plugins. Based on
my training and experience, I know that Shareaholic is. an online
marketing company that provides website plugins and other tools
for users to market and promote a website. Notably, Shareaholic
offers “social share buttons” which | users can embed into their
websites for visitors to easily share content on any social
sharing service. T am aware that cyber criminals sometimes
target third-party plugins or software, such as Shareaholic’s »
social share buttons,, in order to gain unauthorized access to a
website or computer network. | .

b. On or about April 16, 2018, the user searched for
“wordpress 4.9.5 exploit” and “wordpress pingback address.”
According to open-source: research, the Victim’s website used. the
system software WordPress. WordPress is an open-source content.
management system, which is typically used to build and maintain
websites. ‘Based on my training and experience, I know that a
“pingback” is a method for website authors to obtain
notification when other authors link ‘to one of their domains. rT.
know that WordPress is one of several companies which supports
automatic pingbacks, and that a website developer can configure
the automatic pingbacks to.a specific website. Based on my
training and experience, I know that cyber criminals have

exploited WordPress’ s automatic pingback system so that regular

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and legitimate traffic to certain websites creates DDoS activity
against a target website.

Cc. ‘on ot about April 16, 2018, the user searched for
“simple amplification attack” and visited a YouTube video which
‘discussed how to conduct DDoS attacks. T am aware, based on my
training and experience that an “amplification attack” refers to. .
a kind of DDoS attack that leverages other internet sites and |
tools, such as DNS: resolvers used to look up website addresses.
In an amplification attack, the attacker sends.a small query to
one of these sites that causes it to generate a large response
(hence “amplification”), which is then directed to the victim
computer in order to attempt to overwhelm that computer. The
user then searched -*40000 seconds to hours”; I believe this
latter query was an attempt to understand in meaningful terms
how. long a 40,000 second DDoS attack.would last (as such attacks
are usually. measured in seconds) — that is, approximately 11
hours. |

d. On or about April 16, 2018, the user searched for
mysql 5.6.36 exploit” and visited a web page with partial code
on how to conduct a denial-of-service attack using MySQL. Based
on my training and experience, I know that MysQh is an open-
source relational database management system, which is often
used to support web servers and email servers. The numbers

5.6.36 from the user’s search reflect the version of MySQL used

by. the Victim’s website.

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4. Expanded Timeline of Search and Browsing History
45. Examining the search and browsing history data in 7

expanded detail For ‘certain dates ‘revealed. additional
information about the specific actions of the user of this
account. For example, on or. about March 31, 2018, at the.
approximate times listed (PDT), the user of the
arthurjdam@gmail.com account conducted the following activity
(among other activity) : |

a. | At 2:51 p.m. the user conducted a Google seatch
for the name of the Victim’s employer. | .

b. At 2:51 p.m. the user visited the website of: the
Victim's employer. |

c. At 2:52 p.m. the user visited the Wikipedia page
of the Victim's employer. |

d. At 2:52 p.m. the user conducted a Google search,
for the Victim’s last name. .

e. At 2:52-p.m. the user visited the Victim's.
campaign website.

f. At 3:12 p.m. the user searched for “slow loris
nodejs.” |

Gg. At 3:12 p.m. the user visited | a webpage ‘titled |
“slowloris: Unleash the Slow Loris” with information on how to
conduct a DDoS attack.

h.. At 3:13 p.m. the user conducted a Google search

for the Victim’s full name...

‘iL. At 3:25 p.m. the user visited the Victim’ s

Twitter profile.

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j- At 3:26 p.m. the user visited the website of the
“Victim's employer. - | _
| k. At 3:29 p.m. the user again searched. for “slow
loris nodejs.” - | |
‘tL. At 3:29 p.m. the user again visited the webpage
titled “Slowloris:. Unleash the Slow Loris.” . |

m. At 3:45 p.m. the user visited a Los Angeles Times

news article on the Victim.

n. At 3:46 p.m. the user conducted a Google search
for the Victim’s name and the Victim’ s employer. |

On At 3:46 p.m. the user visited a’ Ballotopedia.org
page on the Victim. | : |

Pp. At 3:47 p.m. the user searched for the name of
the campaign for the Victim's opponent, K.0O.’s employer.

q- At 3:47 p.m. the user visited a historical web
article on the Victim.

vr. At 3:47 p.m. the user visited the campaign
website of the Vietim’s opponent.

s. At 3:52 Dem. the user searched for “juniper
©x3300,” which, as noted above, corresponds to specialized IT
equipment that provides a platform with capabilities to conduct
DDos activity. |
| 46. As another example, on or about April 16, 2018, at the
approximate time listed (PDT), the user conducted additional, .
research on ‘the Victim, the Victim’s website, DDos attacks and

other cyber attacks, including the following:

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a. At 12:26 p.m.-the user searched for the Victim’s
full. name. .

b. At 12:27 p.m. the user visited Shodan. io.

c. At 12:49 p.m., the user searched for “Pure-FTPd -
exploit” (as noted above, an “exploit” isa tool designed to
_take advantage of a flaw in a computer system, typicaily for
‘malicious purposes; this search appears to target such a tool to
damage a particular kind of server).

d. . At 2:27 p.m., the user searched for “shareaholic
exploit.” |

e. At 2:28 p.m. the user searched for “simple
amplification attack,” which, as noted above, is type of. DDoS
attack. |

£. At 2:28 p.m. the user visited a YouTube video
titled “Demonstration of a ‘Simple DNS Amplification Attack,”
“which I -know. to refer to another kind of DDos attack.

g. At 6: 19 p-m., the user searched for “wordpress
4.9.5 exploit.” — a

h. At 7:19 p.m. the user searched for “wordpress
pingback address,” and then “wordpress pingback_access”; as
described above, a “wordpress pingback” is a known method of
“conducting a DDoS attack. | |

i. At 7:28 p.m. the user searched for the Victim’s
full name.
| 4. “at 7:29 p.m. the aser visited the Victim’s

website.

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J. Interview of DAM .
47. ‘On or about November 13, 2019, I interviewed DAM and
K.O. at the Santa Monica Residence, during which I learned the.
“following:
| a. DAM was familiar: with AWS and its services.
b. DAM previously had an account with AWS for
' personal use. |
Ce Initially, DAM stated: that he had closed his AWS
account approximately eight years ago, that is, circa 2011. DAM
later clarified that he did not remember exactly when he had
“closed the AWS account, but. that “it had been closed for several
years. When asked if he had paid for an AWS account in the last
two years, DAM said he did not think he had, but said he could
double-check to see if there was an account that was not
properly closed. He reiterated that such an account would have
been closed along - time ago, possibly when he Lived in amsterdam
or New York. K.0. clarified that. they lived in New York from
2014 to 2015. .

i. In July 2019, AWS provided. information to
the FBI that DAM is the subscribed user of a second AWS account,
AWS account 266864327451. This second:account was created in
July 2016 and was active until at least July 2019. this second
account was subscribed to DAM and to his known facilities,
including arthurjdam@égmail.com and his telephone number ending
in -4881. In other .words, DAM had two active AWS accounts at
the time of the DDoS attacks in April 2018 and May 2018. In

fact, DAM had two AWS accounts until September 2018, when the

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AWS Account was. self-suspended and closed, presumably by DAM,
and maintained the other AWS account until at least July 2019.
ds During the interview, IT provided DAM a list of
search terms, including “slow loris nodejs, " “simple.
amplification attack, ” and “40000 seconds to hours,” among other
terms taken from the search and browsing history of. DAM’s Google
accounts. In response, DAM told me the following:
a. . DAM stated he was an engineer who creates
websites and ensures that they are safe from vulnerabilities.
ii. DAM stated that the provided search terms
often come up at his work.

e. DAM stated that he conducts DDoS attacks as part
of his job. These DDoS attacks are conducted on internal work
projects as part of penetration testing. |

ft. DAM stated that he has conducted DDoS attacks on |
his own projects.

g. DAM stated that he has never conducted a DDoS
attack on someone else’s website or server.

K. Interview of Supervisor

48. On or about November 13, 2019, I interviewed DAM’s
supervisor at Company A, O.K., from whom rT learned the following
information: | | |

a. . DAM is very technical, and part of his job is to
troubleshoot any information technology issues: for the office.

b. Company A occasionally uses AWS for special _

projects on behalf of clients. When AWS ‘is used, ‘the company

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specifically uses the AWS S3-service, which is a cloud storage
service. | | |

C. Company A does not use AWS virtual machines.
O.K. stated that he could not think of a reason why the company
would need to use AWS virtual machines or any AWS service to
rapidly expand computer environments. |

d. Occasionally, clients request penetration testing
- on projects. O.K. advised that all penetration testing is done
by external, third-party companies for accountability. and
integrity. O.K. was not aware of any internal penetration
testing conducted by employees. a
. ce, O.K. provided the FBI a copy of the company’s
employee handbook, which stated in part that employees are not
allowed to use company property or equipment in a way that
disrupts the networks of other users.

L. Search Warrant

49, In November 2019, the FBI executed search warrants at
the Santa-Monica Residence and Company A’s offices. A

preliminary review of items seized revealed the following

information:

a. According to multiple digital devices, DAM was
the user of the telephone number ending in -4881.
| b. According to multiple digital devices, DAM was
the user. of preatorian @hotmail.com.

c. . Electronic correspondence DAM had with others

confirmed his working knowledge of AWS and its servers.

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d. DAM" s iPhone, the telephone number ending -4881,
had cookies!7 for the domain “signin.aws.amazon.com” which is the
AWS: sign-in page. According to the cookies, DAM’ s, iPhone
accessed the AWS sign-in page on September 22, 2018, or two days
after the AWS Account was self-suspended/closed. |

Vv. CONCLUSION
50. - For all the reasons described above, there is probable
cause to believe that ARTHUR JAN DAM violated 18 U.S.C.
§ 1030(a) (5) (A), (c) (4) (B) (4), (41), (ce) (4) (A) (4) (I)
(Intentionally Damaging and Attempting. to Damage a Protected

Computer).

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“ve

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Elliott Weideman, Special Agent
Federal Bureau of Investigation

Subscribed to and. sworn before me
this \Aeday of February, 2020..

MICHAEL R. WILNER °

 

HONORABLE MICHAEL R. WILNER
UNITED STATES MAGISTRATE JUDGE

 

‘17 A cookie is a string. of characters and numbers stored on
a computer’s web browser. Providers often use cookies to
recognize when the same device returns to access an account.

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